                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )
 v.                                             )       Case No. 1:09-CR-98
                                                )
 NICHOLAS EVANS                                 )       MATTICE/CARTER



                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on August 12,

 2009. At the hearing, defendant entered a plea of guilty to Count One of the Indictment, to the

 extent it charges conspiracy to manufacture, distribute, and possess with the intent to distribute

 fifty (50) grams or more of a mixture or substance containing a detectable amount of cocaine

 base (“crack”) in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find that the defendant is fully capable and competent to enter an informed

 plea; that the plea is made knowingly and with full understanding of each of the rights waived by

 defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

 promises in the plea agreement; that the defendant understands the nature of the charge and

 penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment, to

 the extent it charges conspiracy to manufacture, distribute, and possess with the intent to

 distribute fifty (50) grams or more of a mixture or substance containing a detectable amount of

 cocaine base (“crack”) in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), be accepted,


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 that the Court adjudicate defendant guilty of the charges set forth in Count One of the Indictment,

 and that the written plea agreement be accepted at the time of sentencing. I further recommend

 that defendant remain in custody until sentencing in this matter. Acceptance of the plea,

 adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

         The defendant’s sentencing date is scheduled for Monday, November 16, 2009, at 9:00

 am.

         Dated: August 12, 2009                       s/William B. Mitchell Carter
                                                      UNITED STATES MAGISTRATE JUDGE




                                        NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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